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                                                                 USDC-SDNY
UNITED STATES DISTRICT COURT
                                                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
                                                                 DOC#:
 SAMUEL SMALL,                                                   DATE FILED: 11/2/20

                             Plaintiff,
                                                                    09-CV-1912 (RA)
                        v.
                                                                         ORDER
 NEW YORK CITY DEPARTMENT OF
 CORRECTIONS, et al.,

                             Defendants.



RONNIE ABRAMS, United States District Judge:

         It is hereby ORDERED that the motion in limine hearing, scheduled for November 5, 2020, shall

be conducted using Skype for Business’s video-conference services. The Court will provide the parties

the dial-in information and a Skype for Business instruction manual via email. If members of the public

wish to attend the hearing, they may do so by using the following dial-in information, which will enable

them to hear but not see the proceedings: Call-in Number: (888) 363-4749; Access Code: 1015508.

SO ORDERED.

Dated:      November 2, 2020
            New York, New York

                                                 RONNIE ABRAMS
                                                 United States District Judge
